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                            Nos. 15-2272, 15-2294


        In the United States Court of Appeals
                for the Third Circuit
                       ____________________________
             IN RE NATIONAL FOOTBALL LEAGUE PLAYERS
                   CONCUSSION INJURY LITIGATION
                    _____________________________
                On Appeal from the United States District Court
                    for the Eastern District of Pennsylvania
                      ____________________________

   CORRECTED OPENING BRIEF OF APPELLANTS RAYMOND ARMSTRONG,
    LARRY BARNES, LARRY BROWN, DREW COLEMAN, KENNETH DAVIS,
   DENNIS DEVAUGHN, WILLIAM B. DUFF, KELVIN MACK EDWARDS, SR.,
PHILLIP E. EPPS, GREGORY EVANS, CHARLES L. HALEY, SR., ALVIN HARPER,
   MARY HUGHES, JAMES GARTH JAX, ERNEST JONES, MICHAEL KISELAK,
      DWAYNE LEVELS, DARRYL GERARD LEWIS, GARY WAYNE LEWIS,
  JEREMY LOYD, LORENZO LYNCH, MICHAEL MCGRUDER, TIM MCKYER,
DAVID MIMS, NATHANIEL NEWTON, JR., CLIFTON L. ODOM, EVAN OGELSBY,
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                                INTRODUCTION

      By the summer of 2013, the NFL’s executives faced a crisis. Despite the

League’s campaign to obscure the effects of concussions in pro football, the autopsy

of a beloved former player had led to the discovery several years earlier of chronic

traumatic encephalopathy. Characterized by mood and behavioral problems, and

even suicide, CTE is a neurodegenerative condition caused only by repeated head

trauma. Of 91 former NFL players’ brains examined, CTE has been found in 87.

      The discovery of CTE set off a wave of lawsuits by over 5,000 players—a

legal and public-relations nightmare for the NFL. But those in the NFL’s

boardroom that summer were even more alarmed by what they saw on the horizon,

and what the rapidly evolving science foretold: a tsunami of claims by the far larger

number of players who would be diagnosed with CTE in the decades to come.

      So the NFL wanted an end game: It would pay those with present injuries,

including families of players who had already died with CTE. In exchange, the

NFL would secure a sweeping global release of all former players’ future CTE

claims, without paying any of them.

      This bargain would result in a stark disparity: The family of a player who

dies with CTE before the class-action settlement’s approval gets up to $4 million. But

an identically situated player who dies a day after the settlement’s approval releases

his claim and gets paid nothing—for the exact same diagnosis.



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      Why did the NFL believe it could get the plaintiffs’ lawyers to go along with

such a lopsided deal? Because, for these lawyers and their injured clients, “the

critical goal is generous immediate payments.” Amchem Prods., Inc. v. Windsor, 521

U.S. 591, 626 (1997). “That goal,” however, “tugs against the interest” of those

with future claims, id., who would prefer to reduce payouts now in favor of “sturdy

back-end opt-out rights” and a deal that “keep[s] pace with changing science.” Id.

at 610-11.

      Why did the NFL and the lawyers think they could disregard the thousands

of former players who may be diagnosed with CTE in the future? Because none of

the lawyers at the negotiating table independently represented their interests. The

personal-injury cases had been consolidated before a single judge in Philadelphia,

who appointed a Plaintiffs’ Steering Committee and ordered it to mediate with the

NFL in July 2013. But the court never appointed independent counsel for the

future claimants, whose rights the Committee had every incentive to trade away.

      Just a few weeks later, in August 2013, the NFL and the lawyers emerged

with a signed term sheet. There had been no formal discovery, and no litigation

beyond a motion to dismiss. Yet the plaintiffs’ lawyers secured the right to seek a

nine-figure fee award. The NFL got the sweeping release it wanted, and the present

claimants got their compensation. Meanwhile, thousands of potential future CTE

claimants—including the 34 Armstrong Objectors—were left on the sidelines.



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      Neither “the terms of the settlement” nor “the structure of the negotiations”

can provide this Court with any assurance that the interests of future claimants

were truly represented during the negotiation process. Id. at 627. As to the terms:

The settling parties are unable to defend the disparate treatment at the heart of this

deal. They cannot explain why a player who dies with CTE tomorrow loses the

millions that would go to that same player if he died last year.

      As to the structure: The supposedly independent “futures” subclass counsel

was not, in fact, independent. He was picked by, and from within, the Plaintiffs’

Steering Committee. And the subclass representative was recruited only after the

deal had already been hashed out by the lawyers. He doesn’t even allege a claim

based on CTE—either for himself or for the thousands of players he supposedly

represents. A “representative” who abandons the most valuable claims of those he

represents, for nothing, is no representative at all—certainly not an adequate one.

      This inadequacy is underscored by class counsel’s refusal to file a fee request

until after final approval, leaving many critical questions unanswered. That

procedure violates the rule in this circuit that “a thorough judicial review of fee

applications is required in all class action settlements.” In re GM Pick-Up Truck Fuel

Tank Prods. Liab. Litig., 55 F.3d 768, 819-20 (3d Cir. 1995). “There was no excuse

for permitting so irregular, indeed unlawful, a procedure,” Redman v. RadioShack

Corp., 768 F.3d 622, 638 (7th Cir. 2014)—an independent ground for reversal.



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                       JURISDICTIONAL STATEMENT

      The district court had subject-matter jurisdiction under 28 U.S.C.

§ 1332(d)(2). It entered a final judgment giving final approval to a class-action

settlement on April 22, 2015. All but one of the appellants (known as the

Armstrong Objectors) timely filed their notice of appeal on May 20, 2015. The

remaining appellant timely filed his notice of appeal on May 21, 2015. This Court

has jurisdiction under 28 U.S.C. § 1291.

                        STATEMENT OF THE ISSUES

      I. A class-action settlement may be approved only if it is “fair, reasonable,

and adequate,” Fed. R. Civ. P. 23(e)(2), and only if “the representative parties

[have] fairly and adequately protect[ed] the interests of the class,” Fed. R. Civ. P.

23(a)(4). Did the district court err in approving the settlement here without the

requisite assurance—“either in the terms of the settlement or in the structure of the

negotiations,” Amchem, 521 U.S. at 627—that former NFL players at risk of CTE

were adequately represented by a single player who didn’t allege this risk himself

but instead abandoned that claim?

       II. Where attorneys’ fees are sought in connection with a class-action

settlement, the class must be given notice and an opportunity to object. Fed. R. Civ.

P. 23(h). Did the district court err in excusing class counsel’s failure to file a fee




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motion before final approval, even though this failure deprived class members of

important information and effectively insulated counsel’s fees from scrutiny?1

        STATEMENT OF RELATED CASES AND PROCEEDINGS

      The Court previously dismissed an interlocutory appeal for lack of

jurisdiction. See In re NFL Players Concussion Injury Litig., 775 F.3d 570 (3d Cir. 2014).

These two appeals (15-2272, 15-2294) have been consolidated with ten others.

                          STATEMENT OF THE CASE

      This brief is filed by the Armstrong Objectors, 34 settlement-class members

who played an average of more than six NFL seasons. They include Pro Bowl

selectees, All-Pros, Super Bowl champions, a Super Bowl MVP, and a Pro Football

Hall of Fame inductee. The oldest began his career in 1960; the youngest retired

after 2011. Their biographies are provided in an appendix to this brief.

      None of the Armstrong Objectors has a qualifying diagnosis under the

proposed settlement. They are united in their concern that, if they are diagnosed

with CTE in the future, their claims against the NFL would be extinguished

without compensation under the proposed settlement.



      1 These issues were definitively ruled upon in the district court’s approval

order. A.135-147 (fairness of the settlement terms and treatment of death with
CTE); A.91-93, 96, 99-103 (fairness and adequacy of future-claimant
representative); A.88 (failure to file fee motion). The same issues were also raised in
objections filed in the district court: Dkt. No. 6248 at 2; Dkt. No. 6242 at 3-4; Dkt.
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      1. Chronic traumatic encephalopathy (CTE) is discovered in

former professional football players. In September 2002, football legend

Mike Webster died of a heart attack. A.5303. A former center for the Pittsburgh

Steelers, Webster’s career spanned seventeen NFL seasons and four Super Bowl

championships, culminating in his induction into the Hall of Fame. Mark Fainaru-

Wada & Steve Fainaru, League of Denial 20, 23, 47, 57 (2013). Since retiring,

however, Webster’s health had taken a nosedive. His death followed a decade of

decline, marked by depression, impulsive behavior, cognitive slowdown, and severe

memory loss. Id. at 47-57; A.2619. By age fifty, he was unemployed, intermittently

homeless, and frequently unable to recognize friends and family. A.2619. Though

it was Webster’s heart that failed him, researchers discovered that the deeper

damage lay in his brain.

      By examining Webster’s brain through specialized staining techniques,

scientists uncovered an abnormal series of dark patches made up of “tau,” a

protein that usually transports nutrients to cells. A.3210. In Webster’s case,

however, the tau had congealed into clumps and strangled his neurons, leading his

brain to atrophy. A.2619, 2801, 5260. Doctors were stumped: brains rarely

deteriorate so young. A.2619. The only precedent was “dementia pugilistica,” first

diagnosed in professional boxers who had suffered repeated head trauma and

subsequently experienced prolonged confusion and dulled mental capacity,



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inspiring the term “punch drunk.” A.2281, 3210. As an offensive lineman, Webster

had sustained repeated blows to the head on numerous occasions, causing damage

that prompted one doctor to ask if he’d been in a car accident. “Have you been hit

lately? And how often?” the doctor asked. Webster responded, “Oh, probably

about 25,000 times or so.” League of Denial 57.

      Only after his death did it become clear that playing football had not just

injured Webster’s body but caused his brain to degenerate—through a disease that

scientists named chronic traumatic encephalopathy, or CTE. A.2287, 2920. For

years, players and their families had seen team members develop mood and

behavioral problems and wondered whether they related to football. Webster’s

autopsy confirmed the connection.

      2. The NFL goes to great lengths to hide the effects of

concussions—both before and after CTE’s discovery. This connection

should have come as no surprise to the NFL. Studies have linked head trauma and

brain damage since the 1920s. A.2287, 2620. And beginning in the early 1990s,

football observers and medical professionals issued warnings that concussions can

cause long-term harm and urged NFL officials to treat them as a serious injury.

      But the NFL failed to heed this advice. Players reported that “intimidation”

to keep playing after a head injury was “common in the NFL.” League of Denial 214.

And although many players “suffered more than one hundred mild traumatic brain



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injuries” during their careers, then-NFL Commissioner Paul Tagliabue stated that

the number of concussions “is relatively small.” A.2237; League of Denial 127.

      Not only did the NFL disregard evidence showing that concussions and sub-

concussions can result in severe behavioral problems and long-term dementia; the

League actively sought to refute it. In 1994, the NFL created the Mild Traumatic

Brain Injury (MTBI) Committee, ostensibly designed to study the medical effects of

brain injuries and institute necessary safety measures. A.2632. Commissioner

Tagliabue appointed Elliot Pellman, a rheumatologist, to lead the Committee, even

though—as a specialist in bone and joint disorders—Pellman “had not produced a

single piece of literature on the subject of concussions.” A.5258; League of Denial 127.

Nearly half the Committee consisted of current NFL team doctors. A.5258.

      In 2001, the MTBI Committee began publishing its research. One paper

stated that concussions occurred at very low rates, and that it was fine for players

who did suffer them to return to the field within a week, never missing a game.

A.2660-62, 2799. Another denied that repeat concussions created any risks, citing

the fact that medical staff allowed players suffering from head trauma to return to

the field shortly after they sustained their injuries. A.2661, 5259. This conclusion

“flew in the face not only of previous research but of widely known realities on an

NFL sideline,” where both players and staff underreported concussions and

glorified a gladiator culture that promoted toughness over safety. A.2284; League of



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Denial 145. Peer reviewers called the NFL’s research “potentially dangerous,”

describing it as “at odds with virtually all published guidelines and consensus

statements,” which found that sustaining one concussion left a player predisposed

to another. Id. at 146-47.

      Still, the NFL’s research team refused to acknowledge any link. In 2007,

HBO’s “Real Sports” interviewed Dr. Ira Casson, co-chairman of the MTBI

Committee. A.2664. Their exchange captured the extent of the NFL’s denial:

             Q. Is there any evidence, as far as you are concerned, that links
             multiple head injuries among pro football players with depression?
             A. No. ….
             Q. Is there any evidence as of today that links multiple head injuries
             with any long-term problem[s]?
             A. In NFL players?
             Q. Yeah.
             A. No.

A.2644.

      By 2007, however, scientists had in fact documented three cases of CTE

among football players—clear evidence of brain damage caused by football. The

New York Times and Boston Globe began to publish stories documenting the severe

mental decline of retired NFL players. A.2619. As the outpouring of evidence and

voices grew louder, the League scrambled to respond. A.5273. That summer it

hosted a Concussion Summit, a conversation about the prevalence and effects of

concussions in football, inviting scientists whose work it had previously sought to




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discredit. A.5263. Despite these overtures, the NFL’s official position remained that

there was no connection between playing football and brain damage.

      More than two years passed before the NFL reversed course, officially

acknowledging that “concussions can lead to long-term problems.” A.2250. By

2010, the old leadership of the MTBI Committee was out. The new guard—two

prominent NFL-appointed neurosurgeons—conceded that the Committee’s earlier

research was “infected” and had misled players. A.2246, 5274.

      3. The evolving research on CTE confirms its prevalence in

football players and its association with behavioral and mood

disorders. When researchers started examining what would become known as

CTE, they first thought it was a variation of Alzheimer’s disease. In Alzheimer’s,

tau protein forms tangles that strangle neurons from the inside, leading to severe

memory loss. In CTE, however, the tangles do not appear in the hippocampus—

the site of our memory—but in the cortex, the site of cognition. A.2291.

      CTE manifests itself primarily through emotional and cognitive symptoms.

A.2287. Early signs include severe headaches and loss of attention and

concentration. A.2255. Affected players go on to struggle with depression, anger,

and short-term memory loss, followed by motor impairment, aggression, language

difficulty, and dementia. A.2237, 2255. In the process, many players develop

substance-abuse problems, lose basic functioning abilities, and contemplate suicide.



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A.2287, 5275. As co-lead class counsel explained, “CTE is believed to be the most

serious and harmful disease that results from [the] NFL and concussions.” A.2237.

       Although research into CTE has advanced significantly over the last decade,

at present CTE can be diagnosed definitively only after death, making it difficult to

identify its full extent and prevalence among living players. A.2957. The studies

that have been conducted, however, suggest that the severity of a CTE diagnosis

correlates with the number of NFL seasons played, and that the disease may be

widespread. A.2255. Researchers at Boston University’s CTE Center—the

country’s largest brain bank focused on traumatic brain injury—inspected the

brains of 91 deceased football players and found at least traces of CTE in 87 of

them. A.2370.2 These results caused Ann McKee, a leading neuropathologist at the

CTE Center, to wonder “if every single football player doesn’t have this.” A.5248.

       She may soon find out. Scientists predict that methods to reliably diagnose

CTE in living patients may emerge within “the next decade, if not sooner.” A.4420,

4597, 4620, 4768, 4953, 5004; see Joe Nocera, NFL’s Bogus Settlement for Brain-

Damaged Former Players, N.Y. Times, Aug. 11, 2015, http://nyti.ms/1PvayQ0.




       2 The data cited in the record (reflecting a CTE diagnoses in 76 of 79 brains)

have since been updated; the ratio has remained roughly the same as the numbers
have increased. See David Geier, Will football players one day take medicine to prevent brain
damage?, The Post and Courier, Aug. 5, 2015, http://tinyurl.com/oa39muf.


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      Already, researchers have made great strides. A.3212-13. UCLA scientists,

for example, used brain-imaging tools in 2013 to detect tau protein in five former

players—the first time that researchers were able to show signs of CTE in living

patients. Steve Fainaru & Mark Fainaru-Wada, UCLA study finds signs of CTE in

living former NFL players, ESPN, Jan. 22, 2013, http://es.pn/1PkszAu. Researchers

are also testing other techniques to detect CTE during life. A.3213. As research

continues, these technologies will become “more sensitive, more accurate,” and

“CTE diagnoses in living people will become more reliable.” A.3031.

      This effort has been aided by more than a dozen players who have donated

their brains to Boston University. A.3181. Before killing himself in 2011, Dave

Duerson, a former star for the Chicago Bears, left a note requesting that his family

donate his brain to the CTE Center. “Please, see that my brain is given to the

NFL’s brain bank.” Alan Schwarz, A Suicide, a Last Request, a Family’s Questions, N.Y.

Times, Feb. 22, 2011, http://nyti.ms/1L5BA1O.

      4. Responding to CTE’s discovery, injured football players seek

compensation and their lawsuits are consolidated. Within the past five

years, amid mounting evidence that football causes CTE and growing awareness of

the NFL’s cover-up, many football players have sought redress. At first, hundreds

of former players filed claims in California, where workers’ compensation laws

enabled players who played at least one game in the state to obtain compensation



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for on-the-job injuries. League of Denial 306. But because the sums awarded were

usually insufficient to cover a lifetime of brain damage, players soon turned to the

courts. In 2011, 73 former players sued the NFL, alleging that it had failed to take

reasonable actions to protect players from the “chronic risks” created by

concussions, and had “fraudulently concealed” those risks from players. A.793, 726.

      Later that year, a separate group of players sued in Philadelphia district

court. The lead plaintiff was Ray Easterling, a former Atlanta Falcons player. Like

others who later joined the case, Easterling had spent his career playing in the NFL

and, after retirement, had begun exhibiting sharp mood swings, inattentiveness,

and erratic behavior. Eight months after filing the suit, Easterling killed himself.

Researchers found his brain riddled with CTE. A.5107-08, 5183, 5303.

       In January 2012, the lawsuits were consolidated before Judge Anita Brody

in Philadelphia. A.62. Following consolidation, an additional 4,500 players filed

more than 300 similar suits against the NFL, and all were transferred to Judge

Brody. Id. Plaintiffs’ lawyers proposed the creation of a Plaintiffs’ Steering

Committee to direct the litigation. The court approved the Committee’s structure

without appointing anyone to represent the interests of future claimants. A.62.

      The plaintiffs filed their collective complaint in July 2012. It alleged fourteen

claims, spanning various counts of negligence and fraud. But the core allegation

remained the same: that the NFL’s conduct had “obfuscated the connection



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between NFL football and long-term brain injury.” A.63. The central issue was still

CTE. A.867-72, 2511 (“This started out as a CTE case. It is still a CTE case.”).

      As the litigation spilled into the following year, the district court ordered the

parties to mediate, expressing “the hope that a negotiated, mutually beneficial

settlement could be reached.” A.65. In July 2013, the court appointed retired Judge

Layne Phillips as mediator.

      After mediation was underway and the contours of an initial deal had begun

to take shape, the Steering Committee recognized the conflicting interests within

the class and took it upon itself to create putative “subclasses.” One “subclass”

would consist of retired players who already had been diagnosed with particular

neurocognitive impairments (including those who died with CTE) and therefore

had present claims against the NFL. The second would consist of retired players

who suffered from none of the specified impairments but were—by virtue of having

played in the NFL—at risk for CTE, though they had no way of presently knowing

whether the disease had begun to develop or would develop in the future.

      The Committee designated Kevin Turner, a former player who suffered

from ALS, as representative of the present-claims subclass. To represent the future-

claims players—the majority of the putative class—the Steering Committee

recruited Corey Swinson, a former running back who had played just one NFL

season and had not yet been diagnosed with any brain injuries or behavioral or



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mood disorders. A.3570. Because Swinson had not suffered any current injury

from his sole season in the League, he was not one of the 5,000 players who had

sued the NFL and thus had no lawyer. So the plaintiffs’ lawyers selected an existing

member of the Steering Committee to serve as his “independent” counsel. A.3570.

      5. Only one month after appointment of a mediator, the plaintiffs’

lawyers ink a tentative deal with the NFL and ultimately propose a

global settlement. By the end of August 2013—just one month after the

mediator’s appointment and before even taking any formal discovery against the

NFL—plaintiffs’ counsel had signed a term sheet outlining a settlement with the

NFL. A.67. One month later, before the parties had inked an actual settlement,

Swinson died. According to plaintiffs’ counsel, Swinson had provided his assent to

drafts of the term sheet before his death. A.3570.

      For more than a month after Swinson’s death—during a critical period

when the contours of the deal outlined in the term sheet were being fleshed out—

there was no plaintiff even purporting to represent the future-claims players. Then,

in mid-October, plaintiffs’ counsel found Shawn Wooden and recruited him to take

Swinson’s place, explaining to him the terms of the already-negotiated deal.

A.3824, 3902. Wooden agreed not only to serve as a representative but to

“support[] the settlement.” A.3824, 3902. He had sustained repeated traumatic

head impacts as a player and experienced neurological symptoms in the years since.



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In 2012, he had described himself as “at increased risk of latent brain injuries”

generally. A.786. But by the time he was “appointed” the proposed representative

of future claimants, Wooden’s claim specified that he was at risk for “dementia,

Alzheimer’s, Parkinson’s, or ALS”—but, critically, not CTE. A.1126, 3823.

      In January 2014, plaintiffs’ counsel asked the district court to certify the class

and approve the proposed settlement, which included a capped fund. A.67.

Concerned that the fund would dry up prematurely, the court rejected the proposal.

Id. Five months later, in June, the parties submitted a revised settlement that

“retained the same basic structure as the original” but addressed some of the

court’s concerns (including the cap, which was removed). A.68. In a declaration

documenting the negotiations, the mediator stated that plaintiffs’ counsel had

“passionately advocated” that players be compensated for “dementia, Alzheimer’s

Disease, Parkinson’s Disease, and ALS.” A.3807. He did not say the same about

CTE. Less than two weeks later, the court preliminarily approved the settlement

and conditionally certified the class and two subclasses. A.69, 3824. Thereafter,

nearly 200 former NFL players and their family members opted out. A.120.

      6. The parties propose a revised settlement that would globally

release both present and future claims. The proposed settlement would

release the claims of two subclasses: (1) all retired NFL players diagnosed with a

“qualifying diagnosis” before the final settlement date of April 22, 2015, and their



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spouses and estates, and (2) all retired players not diagnosed with a qualifying

diagnosis before the final settlement date and their spouses and estates. A.5714-15.

The six qualifying diagnoses are:

   •   ALS
   •   Death with CTE (but only if death occurs before April 22, 2015)
   •   Parkinson’s Disease
   •   Alzheimer’s Disease
   •   Level 2 (moderate) dementia
   •   Level 1.5 (early) dementia

A.5730.

       a. Compensation Framework. The settlement awards compensation on

a sliding scale, ranging from a maximum of $5 million (for ALS) to a maximum of

$1.5 million (for early dementia). A.5740. How much a player receives depends on

several factors, including his age at the time of his diagnosis, the number of seasons

he played, and whether he was previously diagnosed with a stroke or traumatic

brain injury. A.5629. For example, named plaintiff Kevin Turner, who has ALS,

will be eligible for compensation. The same is true for players like Forrest Gregg,

who has Parkinson’s and can claim up to $3.5 million. Dkt. No. 5130; Forrest Gregg

fighting Parkinson’s, Associated Press, Nov. 16, 2011, http://es.pn/1hjK88I.

       Players with CTE, however, are entitled to compensation only if they died

before the final approval date of April 22, 2015. A.80. So, for example, the family

of Dave Duerson—who had CTE and died before April 22, 2015—is eligible for



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up to $4 million, the maximum amount paid for a death-with-CTE diagnosis. But

the family of Ken Stabler, who died after April 22, 2015 and bore classic signs of

CTE, will receive no compensation at all.3 A.5329. By also foreclosing CTE-based

compensation for players who suffer from the disease but have not yet died, and all

players who do not yet suffer from it but one day will, the settlement treats future

CTE claimants much differently than, say, future ALS claimants.

      The only exception to this rule is if the player with CTE also exhibits

conditions that trigger one of the other qualifying diagnoses and is able to claim

compensation on that basis. But research suggests that these overlaps are only a

minority of CTE cases. One study found that CTE was the sole diagnosis in 63%

of cases, while Alzheimer’s, for example, appeared in about one in ten. A.2255,

A.3218. In another study of 33 CTE-infected brains, only 10 also showed signs of

dementia. A.2955. Even among those with advanced CTE, a quarter were not

considered cognitively impaired. A.2509-10.

      As a result, the earliest and most prevalent symptoms of CTE—depression,

aggression, chronic headaches, mood swings, and loss of concentration—trigger no

compensation at all under the settlement. A.2509, 2955, 2958. The “key symptoms”

      3 Stabler’s family donated his brain to Boston University’s CTE Center to

“determine definitely whether Stabler suffered from CTE” and help advance the
science around degenerative brain disease in athletes. “If it is determined that
Stabler had CTE, his family will receive nothing under the settlement.” Paul D.
Anderson, Stabler’s Death is a Stark Reminder About the Settlement’s Deficiencies, NFL
Concussion Litigation, July 10, 2015, http://bit.ly/1foSBFK.

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of CTE, in other words, “are not compensable.” A.2958. Conversely, the diseases

that are compensated—namely, ALS, Parkinson’s, and Alzheimer’s—are those for

which the incidence among retired NFL players is significantly lower than the

incidence of CTE. A.2380. One study, examining NFL retirees who played at least

five seasons, recorded just seven cases of ALS, seven of Alzheimer’s, and three of

Parkinson’s—out of 3,439 retired players. A.2379-82, 2400. Even class counsel’s

own estimates suggest that, of the 21,070-member class, only 31 players will exhibit

ALS, 24 Parkinson’s, and 2,947 Alzheimer’s—14% of the class combined. A.1585.

By contrast, expert research suggests that CTE’s incidence among NFL players

may be as high as 96%, dwarfing the conditions that receive compensation. A.2370.

      Based on the parties’ own estimates, approximately 15,000 class members (or

72% of the class) will never be compensated. A.1585. Although these players have

no way of presently knowing whether they will be diagnosed with CTE, the

settlement surrenders their right to assert any future claims based on a future CTE

diagnosis, thus ensuring that those who do not also happen to suffer from a

triggering neurodegenerative disease will receive no compensation. If, as in the case

of Lew Carpenter, the condition leads to its telltale pattern of mood disturbances

and memory loss without any signs of a qualified diagnosis, a player will have no

recourse—even if the disease drives him to suicide. A.2508.




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      In addition, the settlement provides “free baseline assessment examinations

of [class members’] objective neurological functioning.” A.70.

      b. Reevaluation Subject Only to the NFL’s “Good Faith.” The

settlement acknowledges that scientific advances may require adjustments to the

compensation framework, but provides no mechanism or rules by which to make

adjustments other than leaving it to the parties to “confer in good faith” about

potential revisions to the qualifying diagnoses—including, in theory, how to treat

CTE. A.136. Although the settlement “requires” the parties “to meet at least every

ten years” to consider amending qualifying diagnoses, the NFL holds a complete

right to veto any potential modifications. A.147.

      c. Attorneys’ Fees. The settlement also includes what courts call a “clear-

sailing clause,” under which class counsel may seek up to $112.5 million in fees

without the NFL contesting the request. A.88-89, 1082.

      On top of this uncontested fee of up to $112.5 million, which—unlike the

players’ compensation—will be paid immediately, class counsel can also claim a

set-aside worth 5% of the benefits paid to each class member (which the NFL also

agrees not to contest), as well as contingency fees arising out of payments to class

members whom class counsel represent on an individual basis. A.5671.

      Based on their own damages estimates, the 5%-set-aside provision means

that class counsel could secure potentially $46.7 million in addition to the $112.5



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million already guaranteed. A.1599. Because class counsel has not released public

information about its separate contingency-fee arrangements, it is impossible to

estimate the additional compensation through such arrangements. Record

evidence suggests, however, that the contingency agreements here mirror those in

typical personal-injury cases, where counsel takes around 33%. See Letter from Mrs.

Daniel Brabham, Nov. 5, 2014, Dkt. No. 6356 (“My attorney . . . is also entitled to

1/3 of what may be awarded to me and my three children.”).

      Although class counsel must ordinarily seek fees contemporaneously with the

approval process so that courts and class members may evaluate the overall

contours of the deal and counsel’s efforts, the district court allowed counsel to seek

fees separately, following final approval. A.88, A.5671. It is known that class

counsel took no depositions and conducted no formal discovery, and engaged in

only minimal motions practice followed by month-long negotiations. A.5405, 5433.

Applying a $600 average hourly rate for every partner, associate, and paralegal

who worked on the case, $112.5 million in fees would equate to 187,500 hours of

time—the equivalent of 21.4 years (even without accounting for the additional fees

through the 5% set-aside and contingency fees).

      7. Over many objections, the district court gives final approval to

the settlement. Class members began filing objections to the settlement shortly

after preliminary approval and, last November, the court held a fairness hearing.



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      The Armstrong Objectors, appellants here, took aim at the central problem:

“CTE is the disease that made football brain damage a national issue and a public

health concern,” they explained. “Without it, neither this litigation, nor the

[settlement itself] would likely exist. Yet the [settlement] forecloses every NFL

retiree who has yet to die and be diagnosed with CTE from receiving a ‘Death by

CTE’ award as if there will never be another case.” Dkt. No. 6233, at 18.

      In April 2015—six months after the opt-out deadline had expired, and

without class counsel having submitted a fee petition—the district court certified

the class and two subclasses and approved the settlement. A.58-189.

      a. Class Certification and Adequacy. The court began its analysis with

class certification. It acknowledged that Rule 23’s certification requirements,

including the requirement that absent class members be adequately represented,

“demand[] undiluted, even heightened, attention in the settlement context.” A.80

(quoting Amchem, 521 U.S. at 620). It also recognized that the adequacy-of-

representation requirement guards against conflicts of interest by “‘assur[ing] that

differently situated plaintiffs negotiate for their own unique interests’”—a concern

that is particularly acute in settlement classes seeking to bind both “those with

present injuries and those who have not yet manifested injury.” A.92 (quoting

Georgine v. Amchem Prods., Inc., 83 F.3d 610, 631 (3d Cir. 1996)).




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      Nevertheless, the court determined that the adequacy requirement was

satisfied. A.99. The court reasoned that any conflict between class members with

present injuries and those with possible future injuries was eliminated because class

counsel, after “[r]ecognizing this problem” during settlement negotiations,

“subdivided the Class into two Subclasses,” added a representative for the newly

created future-injury subclass, and then designated a lawyer on the Plaintiffs’

Steering Committee to serve as his “independent counsel.” A.92-93.

      The court found Mr. Wooden to be an adequate representative of the

future-injury subclass because he “does not know which, if any, condition he will

develop” in the future, and thus “has an interest in ensuring that the Settlement

compensates as many conditions as possible.” A.93. The court did not attempt to

square that statement with the fact that Wooden did not pursue compensation for

CTE or specifically allege that he is at risk of developing the disease.

      After addressing adequacy, the district court concluded that the other class-

certification requirements were met, including Rule 23(a)(3)’s requirement that Mr.

Wooden’s claim be typical of the subclass’s claims, and Rule 23(b)(3)’s requirement

that common questions predominate over individual issues. A.83-85, 99-103.

      b. Settlement Fairness and Due Process. Having certified the

subclasses, the court then turned to the settlement agreement. The court

determined that it satisfied due process and is fair, reasonable, and adequate even



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though it does not compensate any living class members for CTE and forces them

to relinquish their right to bring any future “claims relating to CTE” against the

NFL. A.77. The court explained that the parties had resolved the court’s

“primar[y] concern[]”—the possibility that “the capped fund would exhaust before

the 65-year life of the Settlement,” thereby creating the risk that some class

members would receive nothing for their claims simply because their injuries were

discovered too late. A.67. The court was unconcerned, however, that this same

problem exists for CTE, given the disparity in the settlement’s treatment of present

and future CTE claims.

      The court attempted to justify this disparity in two ways. First, it speculated

that providing a “prospective Death with CTE benefit would incentivize suicide

because CTE can only be diagnosed after death.” A.144. Second, it believed that a

living class member “does not need a death benefit because he can still go to a

physician and receive a Qualifying Diagnosis” while living. Id. The court pointed to

studies showing that many players who died with CTE “would have received

compensation under the Settlement if they were still alive” because the disease, in

its advanced stages, likely “inflicts symptoms compensated by Levels 1.5 and 2

Neurocognitive Impairment and is strongly associated with the other Qualifying

Diagnoses in the Settlement.” A.136, 142. Based on that possible partial overlap,




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the court determined that these diagnoses are adequate “prox[ies]” for CTE, so

CTE need not be compensated for any living class members. A.145.

      The court appeared to understand that potentially thousands of settlement

class members will receive no compensation under the settlement and yet later be

diagnosed with CTE. But the court took the view that the settlement “reasonably

does not compensate Retired Players with the mood and behavioral symptoms

allegedly associated with CTE.” A.140. The court did so without insisting on any

mechanism to ensure that the settlement will be adjusted, if necessary, to reflect

future scientific developments regarding CTE. A.136. It required only that the

parties “confer in good faith about possible revisions to the definitions of Qualifying

Diagnoses based on scientific developments.” Id.

      c. Attorneys’ Fees. As to attorneys’ fees, the court found that the clear-

sailing provision is “not problematic” and that “the uncontested fee award is not

disproportionate.” A.89-90. Despite Rule 23(h), the court also excused class

counsel’s refusal to file a fee petition, reasoning that any fee award will “not reduce

the recovery available to the Class.” A.88. Although the court assured class

members that they “will have an opportunity to submit objections to the proposed

fee award,” it did not explain why anyone would have an incentive to do so after

the settlement itself has been approved. A.134.




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                         SUMMARY OF ARGUMENT

      I. If Amchem Products v. Windsor teaches us anything, it is that courts must

police both substance (“the terms of the settlement”) and procedure (“the structure

of the negotiations”) in tandem, to prevent compensation for the presently injured

from being won at the expense of future claimants. 521 U.S. at 627. Courts must

make sure that future claimants, before being bound, truly had a seat at the table.

      A. The settlement terms here are proof that that did not happen. The

settling parties have been unable to justify the mismatch at the heart of the deal:

the disparate treatment between those diagnosed with CTE before, and those

diagnosed after, the date of approval. The parties’ “proxy” theory—that other,

rarer conditions may stand in for CTE—offers no justification for this disparity,

and fails to account for the fact that many with CTE will get nothing. The same is

true for scientific uncertainty, which is a reason to preserve, not extinguish, future

claims. The only credible explanation for the disparity is also the simplest: the deal

was achieved by sacrificing future claimants’ interests to the winds.

      B. The negotiations’ structure also explains why this lopsided deal came to

pass: The future claimants never had a truly independent voice. A committee of

plaintiffs’ lawyers “appointed” subclass counsel from among their own ranks—with

no court involvement—after the negotiations had begun. The early failure to bring

in unconflicted counsel was never rectified. Instead, the lone plaintiff who gave his



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consent to the settlement on behalf of thousands of future claimants was recruited

by the same counsel—after the deal was worked out—and failed even to allege a

future risk of CTE. A “representative” who abandons his most valuable claim in

exchange for nothing is no representative at all.

      II. If further confirmation were needed that the deal is a product of

inadequate representation, it can be found in the parties’ attempt to delay scrutiny

of attorneys’ fees until after final approval. “There was no excuse for permitting so

irregular, indeed unlawful, a procedure.” Redman v. RadioShack Corp., 768 F.3d 622,

638 (7th Cir. 2014). It not only violates Rule 23(h) but “borders on a denial of due

process because it deprives objecting class members of a full and fair opportunity to

contest class counsel’s fee motion.” In re Mercury Interactive Corp. Sec. Litig., 618 F.3d

988, 993-95 (9th Cir. 2010). The lawyers apparently plan to wait until after final

approval to seek their nine-figure fee, at which point class members would lack an

incentive (and perhaps even the right) to challenge it.

      III. The “futures problem” presents considerable challenges. On remand,

the parties and the court may consider a variety of solutions, such as the

appointment of independent counsel, back-end opt-out rights, modification of the

global release, and the creation of a fund for future CTE claims.




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                            STANDARD OF REVIEW

      The district court’s certification of the class and approval of the settlement—

including its “failure to follow the procedures required before approving a

settlement-only class action”—is reviewed for abuse of discretion. In re Cmty. Bank of

N. Va., 418 F.3d 277, 298 (3d Cir. 2005).

      The Court’s review “is plenary, however, to the extent a threshold question

of law . . . bears on [its] review.” McNair v. Synapse Grp., 672 F.3d 213, 222 (3d Cir.

2012). “Whether an incorrect legal standard has been used” in granting class

certification is likewise “an issue of law to be reviewed de novo.” In re Blood Reagents

Antitrust Litig., 783 F.3d 183, 185 (3d Cir. 2015). Because “each requirement of

Rule 23 must be met”—including adequacy of representation—“a district court

errs as a matter of law when it fails to resolve a genuine legal or factual dispute

relevant to determining the requirements.” In re Constar Int’l Inc. Sec. Litig., 585 F.3d

774, 779 (3d Cir. 2009).

      Indeed, Rule 23’s certification requirements “demand undiluted, even

heightened, attention in the settlement context,” Amchem, 521 U.S. at 620, because

the court “acts as a fiduciary” for absent class members. In re Gen. Motors Corp. Pick-

Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 785 (3d Cir. 1995) (“GM Trucks”).

Courts must be “even more scrupulous than usual in approving settlements where

no class has yet been formally certified.” Id. at 805.



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                                    ARGUMENT

I.      Because the settlement’s terms and the structure of the
        negotiations both make clear that future-injury plaintiffs were
        inadequately represented, approval of this settlement must be
        reversed.

        This case implicates “the most difficult problem” in class-action settlements

involving mass torts: How can a court ensure that any deal seeking to bind those

“who do not now have claims, because injury has not been sufficiently manifested,

but who may well have claims in the future,” complies with Rule 23, the

Constitution, and fundamental notions of fairness? Geoffrey Hazard, The Futures

Problem, 148 U. Pa. L. Rev. 1901, 1901 (2000). This problem is at the heart of the

two leading Supreme Court cases on class-action settlements—Amchem Products, Inc.

v. Windsor, 521 U.S. 591 (1997), which affirmed this Court in Georgine v. Amchem

Products, Inc., 83 F.3d 610 (3d Cir. 1996), and Ortiz v. Fibreboard Corp., 527 U.S. 815

(1999). In both cases, the Supreme Court decertified settlement classes constructed

to release the rights of “holders of present and future claims.” Id. at 856.

        The Court did so because the distinct interests of these two kinds of groups

not only diverge but conflict: “for the currently injured, the critical goal is generous

immediate payments,” but “[t]hat goal tugs against the interest of [future-injury]

plaintiffs,” who may not “realize the extent of the harm they may incur,” and thus

can’t know how much their future claims might be worth. Amchem, 521 U.S. at 626,

628. To guard against conflict, the Court has insisted on structural safeguards,


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including adequate, independent representation of future-injury class members. In

testing whether the necessary safeguards are in place, a court must assure itself—

based on “a substantive inquiry into the terms of the settlement” and “a procedural

inquiry into the negotiation process”—that the interests of all class members were

truly represented. GM Trucks, 55 F.3d at 796. Only by “hom[ing] in on the

settlement[’s] terms” and negotiation structure, as Judge Becker did in Georgine and

GM Trucks, may a court assess whether class counsel and the named plaintiffs

provided “fair and adequate representation for the diverse groups and individuals

affected.” Amchem, 521 U.S. at 619, 627.

      This Court has identified several “basic questions” (focusing on both

substance and procedure) “that courts can ask to detect those cases settled” without

adequately “protect[ing] the interests of the absentees.” GM Trucks, 55 F.3d at 806.

On substance: Do the settlement terms reveal a “disparity between the currently

injured and [future-injury] categories,” Amchem, 521 U.S. at 626, such that the

settlement “trad[es] the claims of the latter group away in order to enrich the

former group,” GM Trucks, 55 F.3d at 797? “Have major causes of action or types

of relief sought in the complaint been omitted by the settlement?” Id. at 806. Is the

settlement “accompanied by [the likelihood] of an enormous legal fee”? Id. at 801.

On procedure: Were there insufficient “structural protections to assure that

differently situated plaintiffs negotiate[d] for their own unique interests”? Georgine,



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83 F.3d at 631. “Did the parties achieve the settlement after little or no discovery?”

GM Trucks, 55 F.3d at 806.

      Because the answer to each question is yes, this settlement cannot stand.

Neither “the terms of the settlement” nor “the structure of the negotiations”

provides this Court with any assurance that the interests of future-injury plaintiffs

were really represented at the negotiating table. Amchem, 521 U.S. at 627.

      A.     The settlement’s disparate treatment of present and future
             claimants cannot be justified.

      “The inadequacy of the representation” here “is apparent from examination

of the settlement itself.” Nat’l Super Spuds v. N.Y. Mercantile Exch., 660 F.2d 9, 18 (2d

Cir. 1981). This settlement creates a massive “disparity between the currently

injured and [future-injury] categories of plaintiffs,” Amchem, 521 U.S. at 626—the

class’s “most salient conflict,” Georgine, 83 F.3d at 630. Under the settlement’s terms,

if a class member died with CTE before April 22, 2015—that is, if he had a current

CTE claim on the day of approval—his estate will receive up to $4 million. But if a

class member dies after April 22, 2015—that is, if he has a future CTE claim—his

estate will “get no monetary award at all” for the very same injury. Id. Future-

injury plaintiffs, in other words, are forced to release all “claims relating to CTE,”

A.77, yet they “will never enjoy the [CTE] benefits of the settlement”—benefits

that were obtained at their expense. GM Trucks, 55 F.3d at 797.




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       It is hard to think of more “conspicuous evidence” of “an intra-class conflict.”

Id. When a “settlement treats [one group] quite differently from [another],” it has

“serious implications for the fairness of the settlement and the adequacy of

representation of the class.” Id. at 777. That is especially true here, where the

disparate treatment concerns the one injury that triggered this flood of litigation in

the first place: death with CTE—the “industrial disease” of the NFL. A.5410.

       What explains this eye-popping disparity if not a conflict of interest? Why

would class counsel, who previously called CTE “the most serious and harmful

disease that results from NFL and concussions,” A.2237, insist on up to $4 million

in CTE compensation for those who have already died, but forever foreclose the

possibility of CTE compensation for everyone else? Whose interest does that serve?

How can we be sure that future CTE claims were not bargaining chips to benefit

others?

       The district court posited two justifications for the disparity. The lead

justification was that “[a] prospective Death with CTE benefit would incentivize

suicide because CTE can only be diagnosed after death.” A.144. Put differently,

the court’s concern was that CTE claims are so valuable—and the settlement’s

compensation for those who will be diagnosed with CTE in the future is so

inadequate—that some class members will kill themselves for a chance to obtain the

benefits. That justification is as perverse as it is fanciful. (It is also ignores the fact



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that increased risk of suicide is a symptom of CTE.) The size of the disparity cannot

justify the disparity itself. And a court, even if motivated by paternalism, may not

force someone to relinquish a right worth millions of dollars for nothing in return.

      The district court’s second justification was that “a living Retired Player does

not need a death benefit because he can still go to a physician and receive a

Qualifying Diagnosis.” A.144. That justification, of course, conflicts with the first:

A player who “does not need” CTE compensation would not need to kill himself

for it. Logical contradictions aside, the court’s “proxy” theory fails even on its own

terms. A.145. The court claimed that CTE’s symptoms (though currently

“unknown,” A.136) are compensated by the other qualifying diagnoses: ALS,

Alzheimer’s, dementia, and Parkinson’s. But, under the parties’ own actuarial

estimates, only about 5,879 out of 21,070 total estimated class members (or less

than 28%) will be compensated by the settlement for those diseases. A.1585. Here

is the predicted breakdown (at id.):

         Disease              Estimated Number of           Percentage of Class
                                   Incidences
          ALS                           31                          0.15%
      Parkinson’s                       24                          0.11%
   Level 1.5 dementia                   04                          0.00%
    Level 2 dementia                  2,878                         13.66%
      Alzheimer’s                     2,946                         13.98%



      4 The estimated numbers include no one in the Level 1.5 dementia category

because everyone with dementia is “assumed to progress to Level 2.” A.1585.

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      By sharp contrast, researchers have identified CTE in roughly 96% of the

former players whose brains they have examined (87 out of 91). Geier, Will football

players one day take medicine to prevent brain damage?; see also A.2370. This means that

more people have already been diagnosed with CTE than the total number

expected to be compensated for ALS, Parkinson’s, and Level 1.5 dementia combined.

Those diseases, it goes without saying, are not “proxies” for CTE.

      Nor is Level 2 dementia or Alzheimer’s. Even if many people with CTE

eventually advance to the most severe stage of the disease—at which point they are

expected to suffer dementia and can presumably obtain Level 2 compensation—

those people will receive only a fraction of the amount given to class members with

current CTE claims. Indeed, although the district court believed that “the benefits

for Death with CTE are not more generous than the benefits for those who

received Qualifying Diagnoses while alive,” the settling parties’ own estimates show

otherwise. A.145. The average payment for future dementia claims is $190,000,

while the average payment for current CTE claims is $1.44 million. A.1573.

      To explain this eightfold disparity, the district court reasoned that it is

“because the alleged symptoms Death with CTE compensates did not begin when

Retired Players died.” A.145-46. That is true. But the same could be said of anyone

with a current qualifying disease. Someone with ALS, Alzheimer’s, Level 2

dementia, or Parkinson’s did not begin suffering on the day of final approval. Yet



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the settlement provides a uniform pay structure for each of those diseases (including

dementia), with no supplemental compensation for those who have suffered in the

past. Why? If CTE were really intended as a proxy for dementia, it should be

treated the same as dementia. It is not. That internal contradiction exposes the

“proxy” theory for what it is: a pretext designed to mask a glaring disparity

between class members with current CTE claims and class members with future

CTE claims.

      Even the lopsided numbers listed above fail to capture the full extent of the

disparity because they assume that (a) everyone with CTE will make it to the

disease’s final stages, and (b) the scientific understanding of CTE will not evolve in

a way that casts doubt on the extent of the overlap between CTE and Level 2

dementia. In truth, however, hundreds if not thousands of class members will likely

die with CTE before qualifying for Level 2 dementia—perhaps by killing

themselves as a result of the disease. Based on current estimates, anywhere from

11% (if you believe the NFL’s expert) to 67% (if you believe the CTE experts) of

class members eventually diagnosed with CTE will receive no compensation.

A.3498, 2956. Yet these people will suffer some of the most pervasive and

debilitating CTE-related symptoms, involving “behavioral and mood disorders”

that are “as serious” as any of the covered diagnoses. A.2956. In many cases—one

study put it at two-thirds—behavioral and mood disorders are the sole presenting



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symptom of CTE, meaning that most former players who died with CTE could not

have obtained a qualifying diagnosis before death. A.2955-56. And some, like Hall

of Famer Junior Seau, who committed suicide in 2012, take their lives before they

deteriorate any further. A.2919.

      Why should someone in that situation—whose disease caused him to commit

suicide—get nothing if he died on April 22, 2015, but up to $4 million if he died

the day before? The district court’s principal answer is that his injury should not be

compensated because of the causation problems associated with mood and

behavioral symptoms. A.143. Fair enough. But a CTE diagnosis changes that. And

this still doesn’t explain why the settlement compensates behavioral injuries for

those who died before April 22, 2015 (and at a higher rate than dementia, no less).

So the district court put forth another answer: because those “who died before final

approval would not have had sufficient notice of the need to obtain Qualifying

Diagnosis.” A.145. But why can’t a player’s family obtain a qualifying diagnosis

after death? And if they do, or if the player obtained a qualifying diagnosis before

death (say, dementia or Alzheimer’s), why does he get more than the maximum

amounts for those diseases if the behavioral injuries CTE causes have no value?

      Far from establishing a fair compensation regime for CTE-related claims,

the settlement’s framework eliminates recovery for the vast majority of them. Class

members who suffer from debilitating mood and behavioral conditions related to



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CTE (possibly for years) but who do not advance further up the scale will receive

nothing. The same goes for those who ultimately die from CTE without having

dementia.

      That outcome is impermissible under Rule 23 and due process. Claims held

by absent class members are a form of “property” under the Due Process Clause,

and hence may not be arbitrarily extinguished. Logan v. Zimmerman Brush Co., 455

U.S. 422, 428 (1982). And courts have long recognized that the release of a claim

“not shared alike by all class members” will render a settlement defective under

Rule 23. TBK Partners, Ltd. v. Western Union Corp., 675 F.2d 456, 461 (2d Cir. 1982).

In Amchem, for instance, the Court refused to endorse a global settlement that

“extinguished” certain types of future claims, including family members’ “loss-of-

consortium claims” and exposed “enhanced risk of disease,” for “no compensation.”

521 U.S. at 603, 627. The Court determined that the settlement’s uncompensated

sacrifice of these claims could not satisfy Rule 23’s requirements—regardless of

whether the class representatives “may well have thought that the [s]ettlement

serves the aggregate interests of the entire class.” Id. at 627; see also Super Spuds, 660

F.2d at 19 (“An advantage to the class, no matter how great, simply cannot be

bought by the uncompensated sacrifice of claims of members.”).

      This case is no different. Although the district court suggested that allowing

future-injury plaintiffs to bring CTE claims would “pose[] a serious practical



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problem” given the scientific uncertainties, A.85, “convenience and expediency

cannot justify the disregard of the individual rights of even a fraction of the class,”

In re GM Corp. Engine Interchange Litig., 594 F.2d 1106, 1133-35 (7th Cir. 1979). Here,

the settlement “throw[s] to the winds” the claims of a huge percentage of the class.

Super Spuds, 660 F.2d at 17 n.6. And it does so to reach a global resolution that

benefits everyone else: the currently injured, the NFL, and class counsel.

      Worse, these class members will “become bound to the settlement” even

though they “lack adequate information to properly evaluate” it. Georgine, 83 F.3d

at 633. The wide variation of CTE estimates in this case attests to that. Because

any absent class member would have great “difficulty in forecasting what their

futures hold,” id. at 631, any rational future-injury representative would insist on

“an agreement that keeps pace with scientific advances,” as the district court

explained. A.93. But this deal doesn’t do that. Instead, it “freez[es] in place the

science of [2014],” Georgine, 83 F.3d at 631, by requiring only that the settling

parties “meet at least every ten years and confer in good faith about possible

modifications,” while giving the NFL veto power over “any prospective changes.”

A.147.

      Worse still, the uncertainty of the future creates especially “serious problems

in the fairness” of this settlement, Georgine, 83 F.3d at 633, because it does not

involve the small-dollar claims that Rule 23’s drafters had “dominantly in mind,”



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Amchem, 521 U.S. at 617. Rather, this case “involves claims for personal injury and

death—claims that have a significant impact on the lives of the plaintiffs and [could

one day] receive huge awards in the tort system.” Georgine, 83 F.3d at 633. Each

plaintiff thus “‘has a significant interest in individually controlling the prosecution

of [his case]’; each ‘ha[s] a substantial stake in making individual decisions on

whether and when to settle.’” Amchem, 521 U.S. at 616 (quoting Georgine, 83 F.3d at

633). Future-injury class members would thus “probably desire a delayed opt out

like the one employed in Bowling v. Pfizer, Inc., 143 F.R.D. 141, 150 (S.D. Ohio

1992).” Georgine, 83 F.3d at 631. But here, too, class counsel came up short, instead

bargaining for “an enormous legal fee,” GM Trucks, 55 F.3d at 801—further

evidence that this settlement was beset with conflict, as discussed in Part II.

      In short, the substance of this settlement should put this Court on high alert

that future-injury class members did not receive fair and adequate representation.

The settlement facially discriminates against them as to the one injury at the heart

of this litigation—an injury the settlement itself values at up to $4 million. The

parties’ failure to justify the disparity leaves only one explanation: inadequate

representation. Cf. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-03 (1973).




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      B.     The settlement’s unjustified disparate treatment is the
             result of negotiations that lacked sufficient structural
             protections for future claimants.

      A “procedural inquiry into the negotiation process” confirms the inadequate

representation here. GM Trucks, 55 F.3d at 796. This inquiry asks whether “the

lawyers actually negotiating really were doing so on behalf of the entire class.” Id. at

797. It seeks “to ensure that absentees’ interests”—all absentees’ interests—were

“fully pursued” during the negotiation process. Georgine, 83 F.3d at 630. This Court

can find no such assurance in this case. Simply put, the settling parties “achieved a

global compromise with no structural assurance of fair and adequate

representation” for future-injury plaintiffs. Amchem, 521 U.S. at 627.

      The trouble began almost immediately. When this case first went to

mediation—and throughout the nearly two months of actual negotiation—the

Plaintiffs’ Steering Committee pursued settlement without any judicially appointed

subclass representatives or truly independent subclass counsel. Instead, the

Committee negotiated with the NFL as a single bloc, purporting to represent the

entire undifferentiated class. A.3578.

      Eventually, however, the plaintiffs’ lawyers realized the flaw in their

approach: it violated Amchem and Georgine, which hold that “presently injured class

representatives cannot adequately represent the futures plaintiffs’ interests and vice

versa.” Georgine, 83 F.3d at 631. So the lawyers devised a strategy to sidestep these



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precedents. After the basic settlement terms had been reached, the lawyers self-

designated one of their own members to purportedly represent future-injury

plaintiffs. A.1116-17. And they named Corey Swinson, a former player with one

season of NFL experience, to serve as the representative of these plaintiffs. A.3569.

The district court played no role in these choices, and there is no suggestion in the

record that the court was even asked to appoint outside counsel.

      After Swinson died, the plaintiffs’ lawyers forged ahead with the settlement

for a month without any representative of the future-injury plaintiffs. A.3569. Then

they brought Shawn Wooden to their offices, disclosed the settlement terms to him,

assured themselves that he would “support[] the settlement,” and named him as

the proposed representative of all future-injury plaintiffs. A.3902.

      There is no indication that this process contained the necessary safeguards to

protect the interests of future-injury absentees—particularly in light of the deal’s

substantive unfairness toward those absentees (as discussed earlier). “[T]he fact that

plaintiffs of different types were among the named plaintiffs does not rectify the

conflict.” Georgine, 83 F.3d at 631. What is necessary is that there be sufficient

“structural protections to assure that differently situated plaintiffs negotiate for their

own unique interests.” Id. As the Supreme Court explained in Amchem, if future-

injury class members are to be “bound to a settlement,” the court must ensure

itself—at the very minimum—that they are represented by truly independent



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counsel and a named plaintiff who can provide meaningful “consent” and “who

understand[s] that [his] role is to represent solely the members of [his] respective

subgroup[].” 521 U.S. at 627 (quoting In re Joint E. & S. Dist. Asbestos Litig., 982

F.2d 721, 742-43 (2d Cir. 1992)).

       That did not happen here. As in Amchem, the district court “did not appoint

additional class counsel, nor did it take any other procedural steps to protect the

rights of the future class members in the settlement negotiation process or during

the process leading up to the fairness hearing.” Brian Wolfman & Alan B.

Morrison, Representing the Unrepresented in Class Actions Seeking Monetary Relief, 71 N.Y.U.

L. Rev. 439, 479 (1996). Nor did the court even question after-the-fact that “[e]ach

Subclass ha[d] its own independent counsel” during the negotiations, devoting only

that one sentence to the topic. A.93.

       “Far too much turns on the adequacy of representation to accept it on blind

faith.” GM Trucks, 55 F.3d at 797. On this record, there is simply no way to verify

that the interests of Wooden’s lawyer were really independent of the interests of the

Steering Committee of which he was a part. To take just a few questions: Does the

lawyer plan to seek compensation for the time he previously spent as counsel for

presently injured plaintiffs? If so, how much? How much time did he spend

working on the case after the Steering Committee appointed him as “futures”

counsel? What work did he do? What portion of the potential $112.5 million fee



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award will he seek? We don’t know any of these answers, however, because the

plaintiffs’ lawyers have withheld their fee petition until after final approval of the

settlement—an independent ground for reversal, as discussed in the next section.

      Then there are the class representatives. As the representative of the

proposed future-injury subclass, Wooden played no part in the negotiations and,

given the timing, could not possibly have “underst[ood]” that his “role [was] to

represent solely the members of [his] respective subgroup” during negotiations.

Amchem, 521 U.S. 627. He thus could not have consented to this deal under Amchem,

and he failed to “negotiate for [his] unique interests.” Georgine, 83 F.3d at 631.

      Nor does it matter that the lawyers tried to satisfy Amchem through Mr.

Swinson. Installing him only after negotiations began (and after the architecture of

the settlement had begun to take shape) is “equivalent to closing the barn door

after the horses have escaped.” Walker v. Liggett Group, Inc., 175 F.R.D. 226, 233

n.12 (S.D. W. Va. 1997). For subclasses to be effective in assuring structural

fairness and protecting unnamed class members, they must be established “prior to

settlement.” Id. That way, class members and courts can be confident that a

“global resolution” fairly and adequately addresses “the interest of each subclass.”

Id. Future claimants require this safeguard because “those without current

afflictions may not have the information or foresight needed to decide, intelligently,




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whether to stay in or opt out.” Amchem, 521 U.S. at 628; see also In re Literary Works in

Elec. Databases Copyright Litig., 654 F.3d 242, 250-53 (2d Cir. 2011).

       The timing of the subclass and named representative designations are not

the only problem. When Wooden was designated, he omitted his CTE-related

future claims. A.1126, 3823. That decision is not, as the district court thought, a

mere technical omission. See A.94. A named plaintiff who, in effect, “waive[s] or

abandon[s]” certain claims held by absent class members is categorically

“inadequate as [a] class representative.” In re MBTE Prods. Liability Litig., 209 F.R.D.

323, 339-40 (S.D.N.Y. 2002). By the same token, “[a] class representative is not an

adequate representative when [he] abandons particular remedies to the detriment

of the class.” Thompson v. Am. Tobacco Co., 189 F.R.D. 544, 550 (D. Minn. 1999). A

named plaintiff “cannot maintain a class action without seeking all available

remedies for the class members,” when “he refuses to seek all available remedies

even for himself.” Drimmer v. WD-40 Co., No. 06-cv-900, 2007 WL 2456003, at *3

(S.D. Cal. 2007).

       This flaw is fatal to the settlement because the “linchpin of the adequacy

requirement” is the “alignment of interests and incentives between the

representative plaintiffs and the rest of the class.” Dewey v. Volkswagen Aktiengesellschaft,

681 F.3d 170, 183 (3d Cir. 2012). For intra-class conflicts that are allocative in

nature, the key concern is that the representative plaintiffs will have an incentive



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“to shift the dividing line” between claims “to maximize their own recovery, at the

expense of other members of the class who lacked a representative to protect their

interests.” Id. at 187 n.15. In Dewey, this Court rejected a proposed class subdivision

where none of the “representative plaintiffs” protected the interests of a distinct

group of class members. Id. at 187-89. “The problem” with a proposed settlement

class that includes no named plaintiff to represent a distinct group of class members,

the Court explained, “is that the interests of the representative plaintiffs and the

interests of the [unrepresented] group” will be “align[ed] in opposite directions.” Id.

at 188. “Representative plaintiffs” will have an incentive “to draw the

[compensation] line just beneath” their claims, while feeling free to release those

claims of unrepresented class members. Id. “This is precisely the type of allocative

conflict of interest that” Amchem seeks to avoid. Id.5

      The “structure of the settlement agreement” here illustrates the point. Id. at

187. The named class representatives—one of whom has the only injury worth

more than CTE (Turner, with ALS) and thus had no incentive to seek future CTE

compensation, and the other of whom declined to press future CTE-related

claims—“drew a line delineating the boundaries between” those claims that could

      5 See also Samuel Issacharoff & Richard A. Nagareda, Class Settlements Under

Attack, 156 U. Pa. L. Rev. 1649, 1684 (2008) (explaining that intra-class conflicts
“that matter” are “those that give rise to a significant potential for negotiation on
behalf of an undifferentiated class to skew in some predictable way the design of
class-settlement terms in favor of one or another subgroup for reasons unrelated to
evaluation of the relevant claims”).

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trigger recovery and those that could not. Id. As in Dewey, “[i]t was this line-

drawing exercise that exacerbated the adequacy problem here” because the named

representatives “had an incentive to draw the dividing line” so that their potential

claims would be compensated even if other absent members’ claims were not. Id. at

188. As a result, this settlement fails Rule 23’s adequacy and fairness requirements.

II.   The attorney-fee-deferral procedure, which insulates any fee
      request from meaningful scrutiny, is unlawful and provides an
      independent ground for reversal under this Court’s precedent.

      The unusual fee arrangements here—which include procedures designed to

insulate class counsel’s nine-figure fees from any meaningful scrutiny—further

confirm the inadequate representation of the class, and alone warrant reversal.

      Counsel’s failure to file a fee petition leaves many questions unanswered.

Among them: How much time did class counsel spend on this litigation? How

much effort was put into investigating the case? To what extent would counsel’s

fees represent a windfall, heightening concerns about inadequate representation?

Do the fee arrangements reveal additional conflicts of interest—for example, will

counsel for the futures subclass seek fees for previously representing present-injury

claimants? How compromised is class counsel by generous contingency-fee

arrangements with only present-injury claimants? No settlement may be lawfully

approved when such critical questions remain unanswered.




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      A. The unlawful attorney-fee deferral procedure. The attorney-fee-

deferral procedure here violates a clear rule of this Court’s precedent: “[A]

thorough judicial review of fee applications is required in all class action

settlements.” GM Trucks, 55 F.3d at 819 (emphasis added). Despite that categorical

rule, the district court approved the settlement here without requiring class counsel

to first file a fee motion. Instead, counsel was permitted to defer the motion—and

any disclosure of the rationale or support for their eventual fee request—until after

objections, final approval by the district court, and a decision by this Court. In so

doing, “the District Court abdicated its responsibility to assess the reasonableness of

attorneys’ fees proposed under a settlement of a class action, and its approval of the

settlement must be reversed on this ground alone.” Piambino v. Bailey, 610 F.2d

1306, 1328 (5th Cir. 1980).

      “There was no excuse for permitting so irregular, indeed unlawful, a

procedure.” Redman v. RadioShack Corp., 768 F.3d 622, 638 (7th Cir. 2014). The

district court apparently believed it was acceptable to approve the settlement

without judicial review of fees because the class members “will be free to contest”

any fee request at a later date, and because the award would “not reduce the

recovery available to the Class.” A.87-88. But the latter rationale is the very one

this Court rejected in GM Trucks; there, too, the district court had tried to

“rationaliz[e] its initial refusal to review the fee” motion before final approval on



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the theory that reductions to the fee “will in no way reduce the recovery to any of

the settlement class members.” 55 F.3d at 819. That is wrong as a matter of both

economics and circuit precedent. As this Court recognized long ago, “a defendant

is interested only in disposing of the total claim asserted against it; . . . the

allocation between the class payment and the attorneys’ fees is of little or no

interest to the defense.” Id. at 819-20 (quoting Prandini v. National Tea Co., 557 F.2d

1015, 1020 (3d Cir. 1977)). Judge Posner recently made the same point in

condemning the deferral procedure. Fees, he explained, “represent an integral part

of the overall amount that the settling party is willing to pay.” Redman, 768 F.3d at

958. When counsel refuses to file a motion, “class members cannot determine the

possible influence of attorneys’ fees on the settlement in considering whether to

object to it.” Id.

       The deferral procedure also runs afoul of the federal rules. For any fee

motion in a class-action settlement, Rule 23(h) mandates that “[n]otice of the

motion must be . . . directed to class members” and that that “[a]ny class member

may object to the proposal.” Fed. R. Civ. P. 23(h). “The plain text of the rule

requires that any class member be allowed an opportunity to object to the fee

‘motion’ itself.” In re Mercury Interactive Corp. Sec. Litig., 618 F.3d 988, 993-94 (9th Cir.

2010). When a settlement is proposed, the rule contemplates that “notice of class

counsel’s fees motion should be combined with notice of the proposed settlement.”



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Fed. R. Civ. P. 23(h)(1), 2003 advisory committee’s note. The drafters emphasized

that “it would be important to require the filing of at least the initial motion in time”

for the class to receive notice and have the opportunity to object along with the

proposed settlement. Id. These requirements were violated here. See Redman, 768

F.3d at 637 (rule violated where “[c]lass counsel did not file the attorneys’ fee

motion until after the deadline set by the court for objections to the settlement had

expired”).

      Deferral of the fee motion also violates due process “because it deprives

objecting class members of a full and fair opportunity” to object. Mercury Interactive,

618 F.3d at 993. Even where the total potential fee request is disclosed, class

members are “handicapped in objecting” to the settlement without knowing “the

details of class counsel’s hours and expenses” and “the rationale that would be

offered for the fee request.” Redman, 768 F.3d at 638. To avoid this problem, courts

require that “class action settlement notices must contain the maximum amount of

attorney’s fees sought by class counsel and specify the proposed method of

calculating the award” before any settlement can be approved. Gen. Motors Corp. v.

Bloyed, 916 S.W.2d 949, 957 (Tex. 1996); see also GM Interchange Litig., 594 F.2d at

1130 (“All amounts to be paid by the defendant(s) are properly part of the

settlement funds and should be known and disclosed at the time the fairness of the

settlement is considered.”). That didn’t happen here either.



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      B. The deferral procedure, coupled with the clear-sailing clause,

effectively insulates the fees from future review. To make matters worse,

the settlement also contains a “clear-sailing” clause barring the NFL from ever

contesting class counsel’s fees—including the up-front award of up to $112.5

million, an additional 5% of class members’ recoveries, and an undisclosed amount

of contingency fees (typically, at least 33% of the total recovery). This clause,

together with the deferral procedure, results in even greater insulation of the fees.

      For starters, “the very existence of a clear sailing provision increases the

likelihood that class counsel will have bargained away something of value to the

class,” and “should put a court on its guard.” Weinberger v. Great N. Nekoosa Corp.,

925 F.2d 518, 525 (1st Cir. 1991); see William Henderson, Clear Sailing Agreements: A

Special Form of Collusion, 77 Tulane L. Rev. 813 (2003). As this Court has explained,

such a clause highlights the “danger . . . that the lawyers might urge a class

settlement at a low figure or on a less-than-optimal basis in exchange for red-carpet

treatment for fees.” GM Trucks, 55 F.3d at 820. Such clauses “weigh substantially

against the fairness of a settlement and call for intense critical scrutiny” by

reviewing courts. In re Sw. Airlines Voucher Litig., — F.3d —, 2015 WL 4939676, *10

(7th Cir. Aug. 20, 2015).

      But the settlement here makes that “intense critical scrutiny” unlikely,

thwarting judicial review by design. The NFL will be contractually bound not to



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challenge any fee claim. Because the fees would no longer affect their recoveries,

class members would lose the incentive to challenge the fees after final approval.

And, even if a class member were to mount such a challenge, the parties might

argue that the class member lacks standing to appeal.6 As a result, the class would

likely be deprived of the benefits of both objector participation and judicial review

while class counsel is guaranteed hundreds of millions of dollars. There’s only one

reason for such an arrangement: “to insulate a fee award from attack.” Charles

Silver, Due Process and the Lodestar Method, 74 Tulane L. Rev. 1809, 1839 (2000).

      Three decades ago, the Seventh Circuit and the Federal Judicial Center’s

Manual for Complex Litigation both condemned arrangements under which the

fee is to be set “after the class settlement has been approved,” warning that they

“neutralize the court’s power and ability to pass upon the reasonableness of the

amounts to be paid to plaintiffs’ counsel.” GM Interchange Litig., 594 F.2d at 1130-31

(quoting Manual). Under such an arrangement, there is “little incentive for the

judge to reduce the agreed upon fees” and no incentive for anyone to challenge

them. Id. at 1131.



      6 Compare Silverman v. Motorola, Inc.,739 F.3d 956, 957 (7th Cir. 2013) (no
standing for objector who only challenges attorneys’ fees without challenging
settlement when objector cannot benefit from fee reduction) and Glasser v. Volkswagen
of Am., Inc., 645 F.3d 1084 (9th Cir. 2011) (same) with In re Bluetooth Headset Prods.
Liab. Litig., 654 F.3d 935, 949 n.9 (9th Cir. 2011) (objectors who challenge fee as
part of challenge to Rule 23(e) approval of $0 settlement have appellate standing).

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      C. What is known about the fee arrangements heightens concerns

about adequacy of representation. Class counsel’s efforts to eliminate

meaningful judicial review is all the more troubling given the astronomical nature

of the likely fee request compared to the amount of work done. Assuming a

generous average rate of $600 per hour (for all work by partners, associates, and

paralegals), $112.5 million in fees would equate to 187,500 hours of time—the

equivalent of 21.4 years. That is a surprising recovery for litigation that entailed

briefing on a motion to dismiss, no formal discovery, and a few months of

mediation. Given the lack of fee records, there is a very real possibility that “class

counsel effected a settlement that would yield very substantial rewards to them after

what, in comparison to the [$112] million fee, was little work.” GM Trucks, 55 F.3d

at 803.

      These numbers do not even account for the additional fees counsel stand to

gain. In addition to the free pass on $112.5 million, the lawyers may also obtain

5% of each class members’ recovery—potentially resulting in yet another windfall.

That 5% is ostensibly for ongoing administrative costs, to be spent at counsel’s

discretion. But, as Judge Posner has noted, “the invocation of administrative costs

as a factor warranting increased fees” makes the absence of information “a matter

of particular significance.” Redman, 768 F.3d at 638. Without this information, how




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can any class member assess whether this is a wise expense or merely a slush fund

for the lawyers?

      Finally, the settlement allows the lawyers to enforce any contingency-fee

contracts they have with class members who are able to recover on the grid—on

top of the $112.5 million and the 5% setoff. It is difficult to estimate how much

more this will add to the lawyers’ pockets because the agreements have not been

disclosed. But the amounts are likely substantial. Contingency fees in injury cases

are typically 33% of damages after expenses, and that appears to be the case for at

least some of the class members here. See, e.g., Letter from Mrs. Daniel Brabham,

Nov. 5, 2014, Dkt. No. 6356 (complaining that counsel “is also entitled to 1/3 of

what may be awarded to me and my three children.”).

      Although there is no per se bar on such arrangements, they may indicate a

conflict of interest and, in turn, inadequate representation. Cf. Ortiz, 527 U.S. at

852-53. The arrangements here are presumably with present-injury claimants, not

future claimants. Thus, class counsel stands to gain far more from payouts for

present-injury claims than for future-injury claims. The existence of this

compensation source may undermine “any assumption that plaintiffs’ counsel

could be of a mind to do their simple best in bargaining for the benefit of the

settlement class.” Id. Such “side settlements suggest that class counsel has been

laboring under an impermissible conflict of interest and that it may have preferred



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the interests of current clients to those of the future claimants in the settlement

class.” Id. At a minimum, counsel should disclose the details. See Fed. R. Civ. P.

23(h), 2003 advisory committee’s note (noting that “individual fee agreements

between class counsel and class members might have provisions inconsistent with”

the goal of fairness to the class); Fed. R. Civ. P. 54(d)(2)(B)(iv) (authorizing required

disclosure of “the terms of any agreement about fees for the services for which the

claim is made”); Manual for Complex Litigation § 13.23 (4th ed. 2007) (“In presenting

settlement agreements for judicial approval . . . the parties are obliged to make full

disclosure of all terms and understandings, including any side agreements.”).

        Taken together, these defects expose this settlement for what it is: a device

designed to eliminate liability for the single biggest threat to the NFL—future

accountability for an impending tsunami of CTE-related claims. Everyone wins but

the future-injury class members. No court may approve a class settlement if the

named class representatives and their counsel do not “possess the same interest . . .

as the class members.” Amchem, 521 U.S. at 594. Yet that is exactly what happened

here.

III.    Alternatives are available on remand.

        As the defects in this settlement illustrate, the quest to bind future claimants

to a class-action settlement along with present-injury claimants presents many




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challenges. On remand, the parties and the district court should consider several

alternatives to address this problem:

      Appoint independent counsel: To prevent conflicts of interest among

counsel and ensure adequate representation, the district court could appoint truly

independent counsel to represent the future-injury subclass in any settlement

negotiations—at a minimum, “someone who represents no presently injured

claimants.” Wolfman & Morrison, Representing the Unrepresented in Class Actions Seeking

Monetary Relief, 71 N.Y.U. L. Rev. at 477. This “separate representation”

requirement should prohibit “an attorney who represents another class against the

same defendant” from “serv[ing] as class counsel.” Ortiz, 527 U.S. at 856; see Dewey,

681 F.3d at 190 (suggesting that, on remand, adequacy problems could be resolved

through separate representation of subclasses).

      Exclude future claims from the release. The parties might also narrow

the terms of the release to permit class members who develop CTE-related injuries

in the future to press their claims and seek compensation. In Super Spuds, Judge

Friendly refused to endorse a view of Rule 23 or due process that would allow

named plaintiffs to give up different claims of absent class members. 660 F.2d at 17.

Here, because the named “futures” representative declined to press a CTE claim,

the scope of any release of future claims could be so limited, and future CTE claims

could be excluded. See In re Oil Spill by Oil Rig Deepwater Horizon, 295 F.R.D. 112,



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125 (E.D. La. 2013) (approving release that would not cover later-manifested

physical conditions arising from exposure).

      Compensate CTE with evolving diagnostic criteria. A third option

would be to create a CTE qualifying diagnosis. This would allow players who are

later diagnosed with CTE to get compensation. To account for the changing

science, the settlement could establish a framework for constant reevaluation of the

diagnostic criteria related to CTE. And unlike the current settlement—which gives

the NFL a unilateral veto—the settlement could authorize an objective committee

of scientists to approve changes and “keep pace with the changing science and

medicine.” Georgine, 83 F.3d at 630-31.

      Provide back-end opt-out rights. Finally, the use of “sturdy back-end

opt out rights” has been recognized as a “rational[]” means for future-only class

members to protect “distant recoveries,” Amchem, 521 U.S. at 610, and “safeguard

their ultimate right to resort to the tort system,” In re Asbestos Litig., 90 F.3d 963,

972-73 (5th Cir. 1996); see, e.g., Bowling v. Pfizer, Inc., 143 F.R.D. 141, 150 (S.D.

Ohio 1992). 7 In the recent BP/Deepwater Horizon Medical Settlement, for

example, all class members had the right to a back-end opt-out regardless of

      7 This mechanism has been embraced by several scholars. See John C. Coffee,

Jr., Class Action Accountability, 100 Colum. L. Rev. 370, 433 (2000); Richard A.
Nagareda, Autonomy, Peace, and Put Options in the Mass Tort Class Action, 115 Harv. L.
Rev. 747, 800-01 (2002); Samuel Issacharoff, Governance and Legitimacy in the Law of
Class Actions, 1999 Sup. Ct. Rev. 337, 368-70 (1999); John C. Coffee, Jr., Class Wars,
95 Colum. L. Rev. 1343, 1448-53 (1995).

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whether they recovered in the present. There was “no ‘future’ injury released by

the Settlement”—and hence no concern that absent class members’ undeveloped

claims would be extinguished. See In re Oil Spill, 295 F.R.D. at 140. Because all class

members retained the opt-out right, even those with current claims had “every

incentive to protect the interests” of futures-only claimants—a point with which

Dean Klonoff (who was also an expert there) agreed. Id.

       The settlement in this case failed to follow any of these, or any other,

blueprints to address the problem of future injuries. On remand, the parties and

the district court should study how courts and parties in other cases have handled

this crucial issue.

                                  CONCLUSION

       The district court’s approval of the settlement should be reversed.

                                               Respectfully submitted,

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      2. WORD COUNT, TYPEFACE, AND TYPE STYLE. I certify that this brief

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Rule 32(a)(7)(B)(iii). I also certify that this brief complies with Rule 32(a)(5)’s

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   Appendix—Biographies of the Appellants (Armstrong Objectors)

RAYMOND ARMSTRONG played one season as a defensive tackle with the Oakland
Raiders. He began his professional football career after playing for Texas Christian
University. Mr. Armstrong retired from the old AFL after the 1960 season.

LARRY E. BARNES played two seasons for the San Francisco 49ers and Oakland
Raiders as a running back and kicker. He began his professional football career in
1957 after playing for Colorado State University. Mr. Barnes retired from the old
AFL after the 1960 season.

LARRY BROWN played eight seasons as a defensive back with the Dallas Cowboys
and Oakland Raiders. He played on three Super Bowl Championship teams with
the Dallas Cowboys (XXVII, XXVIII, and XXX), and was named MVP of Super
Bowl XXX. He was also named to the NFL all-rookie team. Mr. Brown began his
professional football career in 1991 after playing for Texas Christian University.
Mr. Brown retired from the NFL after the 1998 season. He is a cohost of the Dallas
Cowboys Radio Network Pregame and Postgame Shows on the Dallas Cowboys
Radio Network.

DREW COLEMAN began his professional football career in 2006 after playing
cornerback for the Texas Christian University Mountain West Conference
Championship team. He played four seasons with the New York Jets and one
season with the Jacksonville Jaguars. Mr. Coleman retired from the NFL after the
2011 season.

KENNETH DAVIS played nine seasons as a running back with the Green Bay
Packers and Buffalo Bills. He played in four consecutive Super Bowls (XXV,
XXVI, XXVII and XXVIII) with the Buffalo Bills. Mr. Davis began his
professional football career in 1986 after playing for Texas Christian University,
where he was first team All-American and had the fifth most votes of all candidates
for the Heisman Trophy as a junior. Mr. Davis retired from the NFL after the
1994 season. He is the Athletic Director and former head football coach at Bishop
Dunne Catholic School in Dallas, Texas.

DENNIS DEVAUGHN was captain of the Bishop College football team and named
MVP of the 1981 Sheridan Black College All-Star game. He played defensive back
for the Philadelphia Eagles for two years (1982-1983). After retiring from
professional football, Mr. DeVaughn helped found, and became President of,



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Athletes for Change, an organization that provides treatment services to youth with
emotional or behavioral disorders.

WILLIAM B. “BILL” DUFF played one season as a defensive tackle with the
Cleveland Browns, and one season with the Berlin Thunder of NFL Europe. He
began his professional football career in 1999 after playing for the University of
Tennessee—where he was co-captain in 1997. After retiring from professional
football, Mr. Duff hosted the television show “Human Weapon” on the History
Channel. He is currently an executive with the Hard Rock Rocksino in Northfield
Park, Ohio.

WILLIAM E. “WILD BILL” DUTTON (deceased, by his daughters, Appellants Mary
Hughes and Barbara Scheer) played one season as a halfback for the Pittsburgh
Steelers. He played college football at the University of Pittsburgh where he was
third in the nation in rushing in 1942. Mr. Dutton was drafted in the third round
by the Washington Redskins in 1943, but went into the service before he played a
down. After World War II, Mr. Dutton played the 1946 season for the Pittsburgh
Steelers. He was released by the Steelers in 1947 and, after a brief stint with the
NFL New York Yankees, retired from professional football in 1947.

KELVIN MACK EDWARDS, SR. was a wide receiver for the New Orleans Saints
and Dallas Cowboys from 1986 through 1988. He played college football at
Liberty University.

PHILLIP E. EPPS was a wide receiver for the Green Bay Packers (1982-1988) and
New York Jets (1989). He played college football at Texas Christian University. He
retired from the NFL after the 1989 season.

GREGORY EVANS, a safety, played two seasons with the Buffalo Bills (1994-1995)
and one season with the Washington Redskins (1998). He retired from the NFL
after the 1998 season. Mr. Evans is an Emergency Medical Services Lieutenant
with the City of Dallas Fire and Rescue Department. He also holds certifications as
a state certified firefighter and paramedic.

CHARLES LEWIS HALEY, SR. played college football at James Madison University
where he was a defensive starter and twice earned All-American honors. Mr. Haley,
a linebacker and defensive end, played for five Super Bowl Championship teams.
He played for the San Francisco 49ers from 1986-1991 and 1998-1999, winning
two Super Bowls (XXIII and XXIV). He also played for the Dallas Cowboys from
1992-1996, where he won three Super Bowls (XXVII, XXVIII, and XXX). Mr.


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Haley was named to the Pro Bowl five times and was an All-Pro selection twice. He
retired after the 1999 season. For his accomplishments, Mr. Haley was inducted
into the Pro Football Hall of Fame in 2015. He was also inducted into the College
Football Hall of Fame in 2011 and the Virginia Sports Hall of Fame in 2006, and
was enshrined into the Dallas Cowboys Ring of Honor in 2011.

ALVIN HARPER played college football at the University of Tennessee. He was a
first round draft pick of the Dallas Cowboys in 1991 after earning All-Southeastern
Conference First Team honors in 1990 and being named MVP of the 1991 Hula
Bowl. As a wide receiver, Mr. Harper helped lead the Dallas Cowboys to back to
back Super Bowl Championships (XXVII and XXVIII). After playing for the
Cowboys for four seasons, Mr. Harper played one year each for the Tampa Bay
Buccaneers, Washington Redskins, and New Orleans Saints. He returned to Dallas
for his final NFL season in 1999.

JAMES GARTH JAX played ten seasons as a linebacker and special teams player with
the Dallas Cowboys and Arizona Cardinals. He began his professional football
career in 1986 after playing for Florida State University. Mr. Jax retired from the
NFL after the 1995 season. For three years after his retirement, Mr. Jax served as
the Arizona Cardinals coordinator of NFL programs and community outreach. He
is currently an executive with Copper State Bolt & Nut Company and a
motivational speaker.

ERNEST JONES was drafted by the Los Angeles Rams in 1994 and played in the
NFL for six seasons. Mr. Jones also was a defensive lineman for the New Orleans
Saints, Carolina Panthers, and Denver Broncos on the Super Bowl XXXII
Championship team. Since retiring from the NFL in 2000, Mr. Jones has worked
as a personal trainer for young athletes in Chandler, Arizona.

MIKE KISELAK played one season with the Dallas Cowboys as an offensive
lineman in 1998. Prior to his NFL career, he played for the University of Maryland,
where he was named the Atlantic Coast Conference Offensive Lineman of the
Week in October 1989. Mr. Kiselak is a minister and a member of the board of
directors for Kids Matters International.

DWAYNE LEVELS played college football at Oklahoma State University. He was a
linebacker for the Cincinnati Bengals in 2002 and 2003.

DARRYL GERARD LEWIS played college football at the University of Texas at
Arlington. He played one season as tight end for the Cleveland Browns in 1984.


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GARY WAYNE LEWIS played college football at the University of Texas at
Arlington. A second round draft pick by the Green Bay Packers in 1981, he played
four seasons in the NFL as a tight end. Mr. Lewis retired from the NFL after the
1984 season.

JEREMY LOYD played college football at Iowa State University. He played two
seasons as a linebacker for the St. Louis Rams, retiring from the NFL after the
2005 season.

LORENZO LYNCH was a cornerback and safety for the Chicago Bears, Arizona
Cardinals, and Oakland Raiders. He played eleven seasons before retiring from the
NFL after the 1997 season.

DAVID MIMS played college football at Baylor University. He was signed by the
Atlanta Falcons in 1993 as an undrafted free agent. Mr. Mims played wide receiver
for the Atlanta Falcons in 1993 and 1994, retiring from the NFL after the 1994
season.

MICHAEL MCGRUDER played nine seasons as a defensive back with the Green
Bay Packers, Miami Dolphins, San Francisco 49ers, Tampa Bay Buccaneers, and
the New England Patriots, with whom he played in Super Bowl XXXI. Before his
NFL career, he played three seasons in the Canadian Football League with the
Saskatchewan Roughriders. Mr. McGruder received the NFL Extra Effort Award
and was a finalist for the NFL Bart Starr Award in 1997. He began his NFL
professional football career in 1989 after starting four years at Kent State
University, where he was captain of the football team his senior year, and a 2-year
captain of the track team. Mr. McGruder retired from the NFL after the 1997
season. In 2009, Mr. McGruder founded Platinum Charities, a charitable
organization dedicated to motivating at-risk youth and empowering disadvantaged
families to reach higher levels of achievement.

TIM MCKYER played college football at the University of Texas at Arlington. A
cornerback, he was a third-round draft pick of the San Francisco 49ers in 1986. Mr.
McKyer played for the 49ers (1986-1989), Miami Dolphins (1990), Atlanta Falcons
(1991-1992), Detroit Lions (1993), Pittsburgh Steelers (1994), Carolina Panthers
(1995), Atlanta Falcons (1996), and Denver Broncos (1997). He was a member of
three Super Bowl Championship teams in 1988 and 1989 (San Francisco), and
1997 (Denver) (XXII, XXIII, and XXXII, respectively). Mr. McKyer, a two-time
All Pro, retired from the NFL after the 1997 season.


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NATHANIEL NEWTON, JR. played fourteen seasons as an offensive lineman with
the Dallas Cowboys and Carolina Panthers. Before his NFL career, he played two
years for the Tampa Bay Bandits in the United States Football League. Mr.
Newton was a six-time Pro Bowl selection, was twice named All-Pro, and played on
three Super Bowl Championship teams with the Dallas Cowboys (XXVII, XXVIII,
and XXX). He also was named to the USFL All-Time Team. Mr. Newton began
his NFL professional football career in 1986 after playing for Florida A&M
University, where he was first team All-MEAC as a senior. Mr. Newton retired
from the NFL after the 1999 season. He is a radio and television broadcaster in
Dallas, Texas.

CLIFTON L. ODOM played thirteen seasons as a linebacker with the Cleveland
Browns, Baltimore and Indianapolis Colts, and Miami Dolphins. Mr. Odom began
his professional football career in 1980 after playing for the University of Texas at
Arlington. Mr. Odom retired from the NFL after the 1993 season.

EVAN OGLESBY originally signed with the Buffalo Bills in 2005 as an undrafted
free agent. Thereafter, Mr. Oglesby played six seasons as a cornerback for the
Baltimore Ravens, Dallas Cowboys and Miami Dolphins. Mr. Oglesby retired
from the NFL after the 2010 season.

SOLOMON PAGE played college football at West Virginia University. Mr. Page, an
offensive lineman, was drafted in the second round by the Dallas Cowboys in 1999.
During his career with the Dallas Cowboys (1999-2002), he played both right
guard and right tackle. Mr. Page played with the San Diego Chargers in 2003,
after which he retired from the NFL.

HURLES SCALES played two seasons as a defensive back for the St. Louis Cardinals,
Chicago Bears and Green Bay Packers. He retired from the NFL after the 1975
season. Mr. Scales previously served as First Vice President of the National
Football League Players Association Dallas, Texas Chapter.

KEVIN REY SMITH played college football at Texas A&M University where he was
a member of two Southwest Conference Championship teams. He was an All-
Southwest Conference selection for three years, and a 1991 consensus All-
American. Mr. Smith, a first round draft pick, played his entire NFL career as a
cornerback with the Dallas Cowboys (1992-2000)—including three Super Bowl
Championship teams (XXVII, XXVIII, and XXX). Mr. Smith retired after the
2000 season. He was inducted into the Texas A&M Athletic Hall of Fame in 1997.


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WILLIE T. TAYLOR played one season as a wide receiver for the Green Bay
Packers. He began his professional football career after playing for the University
of Pittsburgh. Mr. Taylor retired from the NFL after the 1978 season.

GEORGE TEAGUE, a first-round pick in the 1993 NFL Draft, played nine seasons
as a defensive back with the Green Bay Packers, Dallas Cowboys, and Miami
Dolphins. Mr. Teague retired from the NFL after the 2001 season. e began his
professional football career after playing for the University of Alabama. In 2002, he
started the George Teague & Friends Foundation, a charitable organization
focusing on youth development programs that involves many former University of
Alabama football players. He is the Director of Athletics and Physical Education
and Head Football Coach for the Shelton School in Dallas, Texas.

CURTIS BERNARD WILSON played college football at the University of Houston
and Texas A&I University at Kingsville. Mr. Wilson, an undrafted free agent,
played defensive back for the San Diego Chargers.




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